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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )            CASE NO. 8:02CR21
          vs.                                     )
                                                  )
DALE R. HERMAN,                                   )
                                                  )
                                                  )                       ORDER
                        Defendant.                )

          The Court has been advised that the defendant requests permission to enter a plea of
guilty.

          IT IS ORDERED that:

      1.     This case, insofar as it concerns this defendant, is removed from the trial docket
based upon the request of the defendant.


       2.      A hearing on the defendant’s anticipated plea of guilty is scheduled before District
Judge Laurie Smith Camp on the 19th of May, 2005, at the hour of 1:00 p.m. in Courtroom No. 2,
Third Floor, Roman L. Hruska Courthouse, 111 S. 18th Plaza, Omaha, Nebraska.


        3.      Counsel shall abide by the requirements of NE Crim. 11.1(d) regarding the filing and
provisions of the petition to enter a plea of guilty and any written plea agreement.


        4.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes
of preparing the presentence investigation report.


        5.       For this defendant, the time between today’s date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. The
Court finds that failure to grant a continuance would result in a miscarriage of justice. See 18
U.S.C. §§ 3161(h)(1)(I), (h)(8)(A) & (h)(8)(B).


          Dated this 11th day of May, 2005.


                                                      BY THE COURT:
                                                      s/Laurie Smith Camp
                                                      United States District Judge
